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                   IN UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                           DALLAS DIVISION



ZT IP, LLC,                             Case No. 3:22-cv-970-X

                 Plaintiff,

      v.
                                        JURY TRIAL DEMANDED
VMWARE, INC.,

                 Defendant.




                       DEFENDANT VMWARE, INC.’S
              MOTION FOR AN EXCEPTIONAL CASE FINDING
              AND ITS ATTORNEYS’ FEES UNDER 35 U.S.C. § 285
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       I.      INTRODUCTION

       The Federal Circuit has explained “that the aim of [an award] § 285 is to compensate a

defendant for attorneys’ fees it should not have been forced to incur.” Kilopass Tech., Inc. v.

Sidense Corp., 738 F.3d 1302, 1313 (Fed. Cir. 2013). Here, VMware, Inc. (“VMware”) should

be compensated for having to defend itself against an unreasonable suit that ZT IP, LLC (“ZT”)

and its counsel filed and maintained knowing that it was fatally defective in view of two obvious

defects. First, ZT accused certain VMware functionality of infringing U.S. Patent No. 7,647,583

(the “’583 patent”). But the accused ESX functionality predates the ’583 patent and thus could not

infringe (or would invalidate the patent if it did). Second, VMware removed the accused ESX

functionality over a decade ago. This means that, even if ZT’s infringement theory were plausible

(which it is not), ZT could not recover damages under 35 U.S.C. § 286.

       ZT and its counsel should have known of both defects pre-suit. Publicly available

materials readily confirm that the accused ESX technology predates the ’583 patent. And

publicly available materials readily confirm that VMware removed this technology in 2010.

       By filing its Complaint, ZT and its counsel acted unreasonably twice over. Having been

chastised for the same conduct only two years ago, ZT’s counsel should have known better. See

WPEM, LLC v. SOTI Inc., No. 2:18-CV-00156-JRG, 2020 WL 555545, at *3-6, 8 (E.D. Tex.

Feb. 4, 2020) (finding case exceptional and awarding $179,622 in attorneys’ fees where counsel

“conducted no pre-filing investigation into the validity and enforceability of the Asserted Patent

at all”), aff’d, 837 F. App’x 773 (Fed. Cir. 2020), cert. denied, 141 S. Ct. 2628 (2021).1



1
 Judge Gilstrap’s award of fees against ZT’s counsel in WPEM on identical facts and the Federal
Circuit’s affirmance of that award are attached as Exhibits 1 and 2, respectively, to the
Declaration of Diek Van Nort in Support of VMware’s Motion for Rule 11 Sanctions (“Van Nort
Decl.”).

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       Post-filing, ZT and its counsel undeniably knew of these defects. Before serving this

motion, VMware’s in-house counsel met with ZT and provided the public evidence showing that

the accused ESX technology predated the ’583 patent and had been removed long ago. Not only

did ZT fail to respond to that evidence, ZT skipped a meeting that it scheduled to discuss the

evidence. ZT then ignored correspondence from VMware’s outside counsel reiterating—

again—the fatal defects with its case and service of VMware’s Rule 11 motion.

       ZT had no basis for filing this lawsuit and even less of a basis for maintaining it. ZT

dismissed this suit with prejudice only after VMware prepared and filed a motion to dismiss,

after VMware prepared and served a Rule 11 motion, and after the twenty-one-day safe harbor

under Rule 11 expired. ZT’s conduct was not harmless; its maintenance of this suit forced

VMware to incur $105,915 in attorneys’ fees preparing and filing its motion to dismiss,

preparing and serving its Rule 11 motion, and repeatedly trying to convince ZT of the frivolous

nature of this lawsuit. In view of ZT’s failure to conduct an adequate pre-filing investigation and

its maintenance of this suit despite VMware’s repeated requests to dismiss, VMware asks that

the Court find this case to be exceptional under 35 U.S.C. § 285 and award VMware its

attorneys’ fees and costs.2

       II.     STATEMENT OF FACTS

               A.      The Parties, ZT and VMware

       ZT is a limited liability company formed in Austin, Texas on February 28, 2022, three

months before filing the Complaint in this action. (Van Nort Decl., Ex. 3.) VMware is a market-




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  VMware files its Rule 11 motion separately from this motion, although both motions rely on
the same set of facts. See Fed. R. Civ. P. 11 (c)(2) (“A motion for sanctions must be made
separately from any other motion. . . .”). For convenience, all citations to declarations in this
motion are to the declarations submitted with VMware’s Rule 11 motion.

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leading cloud computing and virtualization technology company based in Palo Alto, California.

(Declaration of Daniel Lin (“Lin Decl.”) ¶ 2.)

               B.       VMware Releases the Accused Product in 2002.

       VMware commercially released the accused product, ESX version 1.5 (“ESX 1.5”), on

May 13, 2002. (Van Nort Decl. Ex. 8 at 1-2.) Upon its release, VMware made available a user

manual describing its features and functionality. (ECF No. 13-3 (“2002 ESX 1.5 User

Manual”).) That manual, which bears a 2002 copyright date, confirms ESX 1.5’s public

availability in 2002.




(Id. at 2; see also id. at 13 (“Thank you for choosing VMwareTM ESX ServerTM, the virtual

machine software for consolidating and partitioning servers in high-performance

environments.”).)

       At its launch, ESX 1.5 included a “Service Console” functionality. That functionality was

discontinued from its hypervisor product in 2010. (Van Nort Decl., Ex. 8 at 2, Ex. 10; Lin Decl.

¶¶ 8-9.).) VMware discontinued the ESX platform in 2012 in favor of its “ESXi” platform.

(Van Nort Decl., Ex. 11.)

               C.       The ’583 Patent Is Filed in 2003.

       The application for the asserted patent was filed on May 20, 2003:




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(ECF No. 1-2 at Cover.) That filing date is more than a year after ESX 1.5’s release.

              D.      ZT Files Suit, Relying Extensively on the 2002 ESX 1.5 User Manual.

       On May 2, 2022, ZT sued VMware, alleging that ESX 1.5 infringes the ’583 patent.

(ECF No. 1 ¶ 9.) ZT appended a claim chart to the Complaint to illustrate ESX 1.5’s alleged

infringement. (ECF No. 1-1, Ex. A.) The chart cites extensively—and solely—to the 2002 ESX

1.5 User Manual to show VMware’s alleged infringement:




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(Id. at 1.) The chart specifically accuses ESX 1.5’s “Service Console” of infringement, referring

to it seventeen times:




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(Id. at 9.) Neither the Complaint nor the claim chart refers to any product besides ESX 1.5 or to

any documentation besides the 2002 ESX 1.5 User Manual.

               E.      VMware Repeatedly Tells ZT that Its Patent Is Invalid and that
                       Damages Are Unavailable.

       After ZT filed suit, VMware repeatedly advised ZT of the deficiencies in its Complaint.

During a June 1, 2022 Zoom call, VMware’s in-house counsel presented documents showing

that ESX 1.5 was commercially released over a year before the ’583 patent’s priority date. (Lin

Decl. ¶¶ 5–9.) VMware’s in-house counsel explained that the ’583 patent therefore is invalid.

(See id. ¶¶ 7–8.) VMware’s in-house counsel further explained that VMware had removed the

ESX 1.5 Service Console (an essential part to ZT’s infringement theory) in 2010, precluding any

claim for damages. (Id. ¶¶ 8–9; ECF No. 13-4 at 1-3 (summarizing June 1, 2022 Zoom call

presentation.) VMware further provided public links confirming these representations using

Zoom’s chat feature, and ZT’s counsel orally confirmed his receipt of the same. (See Lin Decl.

¶¶ 9–10.)

       In view of these fundamental defects, VMware asked that ZT’s counsel dismiss the case

immediately. (See id. ¶ 11; ECF No. 13-4 at 1.) Although ZT requested a follow-up Zoom

meeting for June 8, 2022, to discuss VMware’s positions, ZT’s counsel failed to show up. (See

Lin Decl. ¶¶ 13-14.)

       On June 9, 2022, VMware’s in-house counsel again wrote ZT to reiterate the baseless

nature of ZT’s Complaint:

            Given all the easily obtainable public evidence above, we see no
            reasonable basis for a finding of infringement and don’t believe anyone on
            the ZT IP team conducted a reasonable inquiry to determine that
            infringement allegations in the complaint would be well grounded in fact.
            To avoid either side incurring any additional legal costs, we wanted to
            give you and your client a less formal opportunity to re-consider the
            complaint, but you do not seem inclined to timely respond despite our
            efforts, having been 15 minutes late for our first scheduled call and

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           missing your own requested follow-up call entirely. We now will have to
           move forward with our defenses and seek all remedies we feel proper in
           view of the circumstances.

(ECF No. 13-4 at 3.) VMware’s in-house counsel again noted the publicly available materials

supporting VMware’s representations and asked that ZT dismiss its case. (Id. at 1-3.) ZT and its

counsel did not respond. (Lin Decl. ¶¶ 15-16.)

       Having heard nothing, VMware was forced to retain counsel. Via letter dated June 13,

2022, VMware’s counsel again explained to ZT how the Complaint and claim chart illustrated

ZT’s lack of a good-faith basis for bringing this case. (ECF No. 13-2.) VMware specifically

advised ZT that it would pursue recovery of its fees and costs if ZT did not dismiss the lawsuit

promptly. (Id. at 3.) ZT and its counsel still did not respond. (Van Nort Decl. ¶ 6.)

       On June 21, 2022, VMware served a draft of its Rule 11 motion on ZT. (Van Nort Decl.,

Ex. 4.) And on July 8, 2022, VMware filed its motion to dismiss—explaining again that ESX

1.5’s prior art status meant that the ’583 patent was invalid, and that the Service Console’s

removal meant that damages were unavailable. (ECF No. 13 at 1, 4 n.2.) ZT and its counsel still

did not respond. (Van Nort Decl. ¶ 5.)

               F.      ZT Finally Dismisses Its Complaint.

       On July 13, 2022, VMware requested a meet and confer in advance of filing its Rule 11

motion. (Van Nort Decl., Ex. 5.) ZT’s counsel initially did not respond. (Id.) After additional

prodding on July 15, 2022—and after ignoring six weeks’ worth of correspondence—ZT finally

agreed to meet and confer on July 18, 2022. (Id.)

       At the July 18, 2022 meet and confer, ZT’s counsel alleged ZT was continuing to

evaluate VMware’s positions, as ZT had filed suit only three months earlier. (Id. ¶¶ 7-9.) In

response, VMware’s counsel explained that both parties’ counsel were obligated not to file

papers lacking a Rule 11 basis and reminded ZT’s counsel of the prior WPEM decision. (Id.)

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VMware’s counsel also explained that ZT had received ample time to review VMware’s

positions and needed to dismiss its Complaint, at minimum, to avoid sanctions. (Id.)

       ZT’s counsel then launched into an expletive-filled tirade accusing VMware of

“threatening” him. (Id.) The meet and confer concluded with VMware’s counsel indicating that

VMware would move forward with its Rule 11 motion, and ZT’s counsel indicating its intent to

continue considering VMware’s positions. (Id.)

       Despite claiming the need for additional time to review and better understand VMware’s

positions, ZT dismissed its Complaint with prejudice less than thirty minutes after the call’s

conclusion. (ECF No. 17.)

       To date, VMware has incurred approximately $104,915 in outside counsel fees defending

against ZT’s frivolous claims. VMware expended approximately $42,400 on its motion to

dismiss and $58,100 on this motion and the Rule 11 motion. (Van Nort Decl. ¶ 10; id. Exs. 6-7;

Declaration of Steven Callahan ¶ 5; id. Ex. 15.)

       III.    LEGAL STANDARD

       Under 35 US.C. § 285, “[t]he court in exceptional cases may award reasonable attorney

fees to the prevailing party.” “The purpose of Section 285 is not to punish the losing party, but

rather, to compensate the prevailing party for the costs incurred due to the losing party’s

‘unreasonable conduct.’” Intellect Wireless, Inc. v. Sharp Corp., 45 F. Supp. 3d 839, 848 (N.D.

Ill. 2014) (citing Octane Fitness, LLC v. ICON Health & Fitness, Inc., 572 U.S. 545, 555

(2014)); accord Kilopass Tech., Inc. v. Sidense Corp., 738 F.3d 1302, 1313 (Fed. Cir. 2013)

(“[I]t is clear that the aim of § 285 is to compensate a defendant for attorneys’ fees it should not

have been forced to incur.”).

       “[A]n ‘exceptional’ case is simply one that stands out from others with respect to the

substantive strength of a party’s litigating position (considering both the governing law and the

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facts of the case) or the unreasonable manner in which the case was litigated.” Octane Fitness, ,

572 U.S. at 554. The standard of proof is a preponderance of the evidence. Id. at 557-58.

        “[D]istrict courts [can] consider a nonexclusive list of factors, including frivolousness,

motivation, objective unreasonableness (both in the factual and legal components of the case)

and the need in particular circumstances to advance considerations of compensation and

deterrence.” Id. at 554 n.6 (citation and quotation marks omitted). A Rule 11 violation is

sufficient for an exceptional case finding and attorneys’ fee award under Section 285. See

Brooks Furniture Mfg., Inc. v. Dutailier Int’l, Inc., 393 F.3d 1378, 1381 (Fed. Cir. 2005),

overruled on other grounds by Octane, 572 U.S. at 555 (“A case may be deemed exceptional

when there has been some material inappropriate conduct related to the matter in litigation, such

as . . . conduct that violates [Rule] 11, or like infractions.”).

        A Rule 11 violation, however, is not a prerequisite to an exceptional case finding and an

attorneys’ fee award; lesser conduct may suffice. Octane, 572 U.S. at 555 (“[S]anctionable

conduct is not the appropriate benchmark. . . . [A] district court may award fees in the rare case

in which a party’s unreasonable conduct—while not necessarily independently sanctionable—is

nonetheless so ‘exceptional’ as to justify an award of fees.”). A case may be exceptional because

a party’s litigation position was weak or its approach to litigation was unreasonable. See id. at

555; Hyosung TNS, Inc. v. Diebold Nixdorf, Inc., No. 3:16-CV-0364-N, 2021 WL 1597903, at *2

(N.D. Tex. Mar. 19, 2021) (case deemed exceptional where “litigating position was substantively

weak considering the governing law and facts of the case”); Traxcell Techs., LLC. v. AT&T

Corp., No. 2:17-CV-00718-RWS-RSP, 2022 WL 949949, at *5 (E.D. Tex. Mar. 29, 2022) (case

found exceptional based on unreasonable claim construction positions, infringement theories,

and assertion of invalid claims).



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       Neither bad faith nor litigation misconduct is required for an exceptional case finding.

See Gigamon Inc. v. Apcon, Inc., No. 2:19-CV-00300-JRG, 2022 WL 949962, at *1 (E.D. Tex.

Mar. 29, 2022) (“Notably, it is not necessary that the litigation conduct at issue be independently

sanctionable, e.g., because it involves bad faith or some other misconduct.”); Tinnus Enters.,

LLC v. Telebrands Corp., 369 F. Supp. 3d 704, 744 (E.D. Tex. 2019) (“To be considered

exceptional, conduct need not be ‘independently sanctionable.’ Nor is a finding of bad faith

required.”) (internal citations omitted).

       IV.     ARGUMENT

               A.      This Case Is Exceptional.

        VMware asks that the Court determine that this case is “exceptional” under 35 U.S.C. §

285. See Brooks, 393 F.3d at 1381; Octane, 572 U.S. at 554 (“[A]n ‘exceptional’ case is simply

one that stands out from others with respect to the substantive strength of a party’s litigating

position (considering both the governing law and the facts of the case) or the unreasonable

manner in which the case was litigated.”).

       The Complaint and attached claim chart make clear that ZT lacked a good-faith basis to

bring this action and did not conduct an adequate pre-suit investigation. Not only did ZT and its

counsel fail to conduct a reasonable pre-suit investigation, but they continued to pursue their

frivolous claims despite notice of their case’s defects from VMware. ZT’s litigation positions

were meritless, and ZT litigated this case in an unreasonable manner.

                       1.      ZT Did Not Adequately Review Public Materials Showing that
                               ESX 1.5 Predates the ’583 Patent.

       It is hornbook patent law that “that which infringes if later anticipates if earlier.”

Polaroid Corp. v. Eastman Kodak Co., 789 F.2d 1556, 1573 (Fed. Cir. 1986). For that reason, if

an accused product predates the allegedly infringed patent, there can be no infringement, and any


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infringement case on that patent would be meritless. See Marrin v. Griffin, 599 F.3d 1290, 1295

(Fed. Cir. 2010) (“There can be no infringement of claims deemed to be invalid.”).

        Before filing suit, ZT and its counsel did not even check the commercial release date of

ESX 1.5. Had they done so, they would have readily discovered public materials referring to

ESX 1.5’s commercial release on May 13, 2002. (See, e.g., Van Nort Decl., Ex. 8.) Had ZT and

its counsel reviewed the very materials that they cited in the claim chart appended to the

Complaint, they also would have uncovered this fact. One of the cited materials bears a 2002

copyright date. (See ECF No. 1-1, Ex. A (citing ECF No. 13-3 (“VMware User’s Manual ESX

Server Version 1.5”) at 2 (“© 2002 VMware, Inc.”) available at

https://www.vmware.com/pdf/esx_15_manual.pdf).) As ESX 1.5’s release predates the ’583

patent’s filing date by over a year, the patent is invalid under 35 U.S.C. § 102(b).3 Just as in

View Engineering, ZT’s counsel here plainly did not conduct “a reasonable inquiry for the

purpose of filing patent infringement claims.” View Eng’g, Inc. v. Robotic Vision Sys., Inc.,

208 F.3d 981, 986 (Fed. Cir. 2000).

        ZT’s counsel was chastised two years ago for making the same grievous error. See

WPEM, 2020 WL 555545 at *3-6, 8 (awarding $179,622 in attorneys’ fees). In WPEM, ZT’s

counsel “conducted absolutely no pre-filing investigation into the validity or enforceability of the

Asserted Patent,” even though “the most cursory of such investigations would have revealed the

grounds for invalidity and unenforceability [the defendant] now asserts.” Id. at *3. In particular,



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 Under 35 U.S.C. § 102(b), “[a] person shall be entitled to a patent unless . . . (b) the invention
was patented or described in a printed publication in this or a foreign country or in public use or
on sale in this country, more than one year prior to the date of the application for patent in the
United States[.]”). Because the ’583 patent was filed before March 16, 2013, the version of
Section 102 before the America Invents Act applies. See Google LLC v. IPA Techs., 34 F.4th
1081, 1084 n.1 (Fed. Cir. 2022); 35 U.S.C. § 100 (note).

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ZT’s counsel failed to discover publicly available materials showing that the plaintiff’s

infringement theories rendered the patent invalid, as the accused product predated the patent.

See WPEM, 2020 WL 555545 at *4.

       So too here. As in WPEM, ZT’s counsel failed to adequately review readily available

public materials, such as materials from VMware’s website and a user manual that ZT itself cited

in its claim chart. Those materials would have confirmed that ESX 1.5 predates the ’583 patent’s

priority date by over a year, rendering the patent invalid. As in WPEM, “[i]t is hard to square

this failure with the obligation to conduct a diligent pre-filing investigation.” Id. at *6.

                       2.      ZT Did Not Adequately Review Public Materials Showing
                               VMware Removed the Service Console Essential to its
                               Infringement Theory.

       ZT and its counsel’s failure to discover that the accused product predates the patent-in-

suit was not their only failure. ZT and its counsel also failed to realize that VMware removed

the Service Console from the ESX product in 2010, mooting any claim for damages.

       The Service Console was essential to establishing ZT’s theory of infringement. ZT’s

claim chart mapped the “operating system” limitation of all claims of the ’583 patent to ESX

1.5’s service console. (ECF No. 1-1, Ex. A.) But publicly available materials also show that

VMware removed that feature when transitioning to the ESXi platform in 2010. (See, e.g., Van

Nort Decl., Ex. 9 (“The Architecture of VMware ESXi”) at 3 (“[T]he Linux-based service

console has been removed . . . .”) (emphasis added).) As 35 U.S.C. § 286 limits a plaintiff’s

damages recovery to six years before the lawsuit, VMware’s removal of the service console 10+

years ago means that ZT could not recover damages, , even assuming arguendo that its

infringement claims had merit and the ’583 patent was valid.

       ZT and its counsel can offer and have offered no explanation for filing and then

originally maintaining this litigation, despite the unavailability of damages. Their failure to

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investigate whether, in fact, damages are available independently shows this case is exceptional.

                        3.      ZT Ignored the Proof of Non-Infringement and No Damages.

        ZT’s approach to this case has been to file first and think later, without adequately

investigating the merits of its infringement claim. The law does not permit such an approach.

Cf. Stewart v. RCA Corp., 790 F.2d 624, 633 (7th Cir. 1986) (“Rule 11 requires lawyers to think

first and file later, on pain of personal liability.”) (citation omitted).

        ZT’s approach is all the more troubling, as VMware undertook to point out these issues to

ZT before filing this motion in the hope of avoiding unnecessary legal costs and motion practice.

Post-suit, in correspondence, and in a Zoom meeting, VMware repeatedly explained why ZT

could not reasonably maintain this litigation in view of the publicly available evidence that the

accused ESX 1.5 functionality both predated ZT’s patent and was removed long ago. (See ECF

No. 13-4 at 1-3; ECF No. 13-2; Lin. Decl. ¶¶ 7-10.) VMware also provided ZT with the

evidence itself. (See ECF No. 13-4 at 1-3, Lin. Decl. ¶¶ 7-10.)

        Rather than respond to VMware’s showing, ZT disengaged and missed a call—which it

scheduled—to discuss the evidence. ZT then ignored correspondence from VMware’s counsel.

Although ZT ultimately dismissed its lawsuit with prejudice, ZT’s pursuit of its frivolous claims

forced VMware “to file an unnecessary motion to dismiss and serve [plaintiff] with a draft Rule

11 motion for sanctions.” Soar Tools, LLC v. Mesquite Oil Tools, Inc., No. 5:19-CV-243-H,

2022 U.S. Dist. LEXIS 83887, at *28-29 (N.D. Tex. Feb. 9, 2022) (finding case exceptional and

awarding fees where plaintiff refused to dismiss case despite defendant’s repeated requests).

ZT’s clearly meritless claims and its refusal to drop them support an exceptional case finding and

attorneys’ fee award. See Octane, 572 U.S. at 555 (explaining that “a case presenting either

subjective bad faith or exceptionally meritless claims may sufficiently set itself apart from mine-

run cases to warrant a fee award” under Section 285); Traxcell, 2022 WL 949949, at *5

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(assertion of invalid claims supported exceptional case finding).

                      4.      ZT’s Unreasonable Litigation Conduct Further Supports
                              Finding the Case Exceptional and Awarding Fees.

       Even if one ignores ZT’s stubborn pursuit of its meritless claims, its (and its counsel’s)

conduct and apparent motivation in bringing this case support awarding fees and costs. See

Octane, 572 U.S. at 554 (“unreasonable manner in which [a] case [i]s litigated” conduct may

justify fee award); id. at 554 n.6 (“motivation” relevant to fee award determination).

       As noted, throughout this action, ZT continuously refused to engage and participate in its

own litigation. After VMware explained why the ’583 patent was invalid and damages were

unavailable via a Zoom call on June 1, 2022, ZT’s counsel skipped the follow-up meeting. ZT

then ignored VMware’s follow-up letters (on June 9 and 13, 2022), VMware’s motion to dismiss

(on June 21, 2022), and VMware’s draft Rule 11 motion (on July 8, 2022).

       In the lone instance in which ZT’s counsel did engage with VMware’s outside counsel,

ZT’s counsel was openly hostile. During the July 18, 2022 meet and confer, VMware’s counsel

noted VMware’s pending motion to dismiss, its intent to move for sanctions, and the similarities

with the prior WPEM case. (Van Nort Decl. ¶¶ 7-9.) In response, ZT’s counsel cursed at

VMware’s counsel and accused VMware of threatening him. (Id.)

       Courts have cited similar misconduct and unprofessional behavior as justifying awarding

sanctions, fees, and costs. Cf. Carroll v. Jaques Adm. Law Firm, P.C., 110 F.3d 290, 294 (5th

Cir. 1997) (upholding sanctions for attorney who used profanity and was insulting during

deposition); see also Oplus Techs., Ltd. v. Vizio, Inc., 782 F.3d 1371, 1373 (Fed. Cir. 2015)

(vacating denial of fee award under Section 285 where counsel’s behavior was “inappropriate,

unprofessional, and vexatious”).




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                       5.      ZT’s Counsel’s History of Unreasonable Patent Litigation Also
                               Supports an Exceptional Case Finding and Fee Award Here.

       ZT’s counsel is a prolific patent filer. Per his website, in the first four months of 2021

alone, ZT’s counsel filed 79 new patent cases and was “poised to be a top 5 patentee law firm in

2021.” (Van Nort Decl., Ex 12; see also id. Ex. 13 (“For 2022, a goal for Bill and his Firm is to

be in the top ten law firms filing new patent cases across the United States.”).) Since 2021, ZT’s

counsel has filed over 300 patent cases in Texas federal district courts. (Van Nort Decl., Ex. 14

(253 cases in the Western District, 25 cases in the Eastern District, 23 cases in the Northern

District, and 9 cases in the Southern District).)

       Unfortunately, such a large volume of filings substantially increases the likeliood the risk

that one will not pay careful attention to each case on one’s docket—or that one will have filed a

case that one should never have filed at all. Both occurred here.

       As noted above, the Eastern District of Texas previously awarded $179,000 in fees

against ZT’s counsel’s client for filing and maintaining a lawsuit on an invalid patent. WPEM,

2020 WL 555545, at *3-6, 8. In WPEM, as here, ZT’s counsel failed to conduct an adequate pre-

filing investigation. Id. at *7. In WPEM, as here, ZT’s counsel filed a lawsuit alleging that the

prior art infringed a patent—a legal impossibility. Id. at *4-5. In WPEM, as here, ZT’s counsel

was advised of the issues with this case repeatedly. Id. at *1. And in WPEM, as here, ZT’s

counsel dismissed its claims with prejudice to try to avoid an exceptional case finding. Id. at *2.

       ZT’s counsel’s lack of care and his motivation in filing and persisting with this lawsuit

warrant an exceptional case finding and fee award here. Octane, 572 U.S. at 554 n.6 (factors

supporting an exceptional case finding include “frivolousness, motivation, [and] objective

unreasonableness (both in the factual and legal components of the case).” So, too, does “the

need in particular circumstances to advance considerations of compensation and deterrence.” Id.


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        Despite the exceptional case finding and fee award against his client just two years ago in

WPEM, ZT’s counsel has made the same careless and preventable error yet again. “[T]hat this

misconduct has already been sanctioned should be weighed more heavily, rather than be

excluded, in the 35 U.S.C. § 285 analysis.” Romag Fasteners, Inc. v. Fossil, Inc., 866 F.3d 1330,

1340 (Fed. Cir. 2017).

                         6.    VMware Is the Prevailing Party.

        VMware undisputedly is a “prevailing party” under Section 285, as ZT dismissed this

case with prejudice (ECF No. 17, 18). See Raniere v. Microsoft Corp., 887 F.3d 1298, 1301

(Fed. Cir. 2018) (“[D]ismissal with prejudice alters the relationship between the parties and is

sufficient to confer prevailing party status for purposes of considering a claim for fees under

section 285.”) (internal quotations omitted); Trover Grp., Inc. v. Dedicated Micros USA, No.

2:13-CV-1047-WCB, 2015 WL 4910875, at *1 (E.D. Tex. Aug. 17, 2015) (“When a party seeks

dismissal of an action under Rule 41(a)(2) unilaterally, rather than as part of a settlement, the

opposing party is ordinary regarded as the prevailing party.”).

        V.     CONCLUSION

        ZT never should have filed this lawsuit, and it can offer no “sound excuse” or identify

any “considerable mitigating circumstances” for maintaining it. View Eng’g, Inc., 208 F.3d at

986. VMware asks that the Court find this case to be exceptional and award VMware its fees

and costs totaling approximately $104,915 to date.4




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 Should the Court agree that VMware is entitled to its fees and costs, VMware will submit
additional information relating to the work by its outside counsel, their hourly rates, and incurred
costs.

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                             CERTIFICATE OF CONFERENCE

       The undersigned counsel for VMware hereby certifies that attorneys (including Richard

Hung, Steven Callahan, and Diek Van Nort) for VMware met and conferred with attorneys from

ZT (including William Ramey) on July 18, 2022 before VMware filed this motion. Agreement

was not reached. At the end of the meet and confer, VMware stated it would file its motion for

Rule 11 sanctions and fees. ZT indicated that it was continuing to consider VMware’s position.

                                              s/Richard S.J. Hung
                                              Richard S.J. Hung


                                CERTIFICATE OF SERVICE

       I hereby certify that, on August 1, 2022, I filed the foregoing document via the Court’s

ECF system, which will send notice of the filing to counsel for Plaintiff.

                                              .
                                              s/Steven Callahan
                                              Steven Callahan




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